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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ERIC BUXTON,

   Plaintiff,

-vs-                                                CASE NO.: 8:17-CV-03034-JDW-JSS

ALLIED INTERSTATE, LLC,

  Defendant.
                                      /

                           NOTICE OF PENDING SETTLEMENT

       Plaintiff, ERIC BUXTON, by and through his undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, ERIC BUXTON, and Defendant, ALLIED INTERSTATE,

LLC., have reached a settlement with regard to this case, and are presently drafting, and

finalizing the settlement agreement, and general release documents. Upon execution of the

same, the parties will file the appropriate dismissal documents with the Court.

                                                      /s/ Shaughn C. Hill_____
                                                      SHAUGHN C. HILL, ESQUIRE
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                                                      Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 8th day of February, 2018, the foregoing document

was filed electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF

system; and, a copy of which was served via electronic mail to all parties requesting notification

of such filings, and of record.



                                                    /s/ Shaughn C. Hill______
                                                    Shaughn C. Hill, Esquire
                                                    Florida Bar #: 0105998
                                                    Attorney for Plaintiff




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